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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

ELLIOTT HERRON,                              )
                                             )
               Plaintiff,                    )       No. 19 C 50176
                                             )
                        v.                   )       Honorable John Z. Lee
                                             )       Judge Presiding
BRADY REVENIQ, et al.,                       )
                                             )       Magistrate Judge Lisa A. Jensen
               Defendants.                   )

                             ANSWER TO PLAINTIFF’S COMPLAINT

       NOW COMES the defendant BRADY REVENIQ, by and through his attorney KWAME

RAOUL, Attorney General of the State of Illinois, and for his Answer to Plaintiff’s Complaint

states the following:

         1.     That on February 12, 2019 at approximately 7:00 p.m. while in my cell watching
t.v., a group of inmates were gathered around in front of my cell signing and making all sort of
noises.

ANSWER: Defendant is without knowledge or information sufficient to form a belief as
to the truth of the allegations in the above paragraph.

       2.       That I decided that I would confront these inmates, so I got up and went to the
door. I asked said inmates that if they didn’t mind could they please keep down the noise that I
was trying to listen to my t.v.

ANSWER: Defendant is without knowledge or information sufficient to form a belief as
to the truth of the allegations in the above paragraph.

        3.   That said inmates responded that if I didn’t mind my own business that they
would beat my ass, and that they would get up with me later. I certainly took those remarks as a
threat.

ANSWER: Defendant is without knowledge or information sufficient to form a belief as
to the truth of the allegations in the above paragraph.

        4.      That once these inmates left from in front of my cell, I got up and went to the
officers control bubble. I told the floor Officer Reveniq that I had been threatened by a group of


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inmates and that I was concerned and afraid for my safety.

ANSWER:        Deny.

       5.      That c/o Reveniq responded that there was nothing that he could do for me unless
there was some kind of actual physical harm done to me by these inmates. C/O Reveniq also
assured me to not to worry too much about this. That these inmates were just “blowing off
steam”. “That’s what they do. They will eventually calm down and go about their business”.

ANSWER:        Deny.


       6.      That later that evening, I was attacked and physically beaten by these same
inmates.

ANSWER: Defendant is without knowledge or information sufficient to form a belief as
to the truth of the allegations in the above paragraph.

       7.      That do to this lack of concern by Reveniq I was badly beaten by these same
inmates for no other reason other than the confrontation that took place earlier at my cell.

ANSWER:        Deny.


                                      COUNT I
                     Eighth Amendment Cruel and Unusual Punishment

       8.       Plaintiff incorporates paragraphs 1 through 7 of the factual overview as if they
were fully set forth herein as paragraph 1 of this Count I.

ANSWER:        Defendant restates his Answers to paragraphs 1 through 7.

       9.      The Constitution imposes on prison and jail officials a duty to protect: to “take
reasonable measure to guarantee the safety of inmates” and to protect them from violence at the
hands of other inmates.

ANSWER: This paragraph states a legal conclusion to which no answer is required. To
the extent which an answer is required, Defendant denies violating any of Plaintiff’s
Constitutional rights.

        10.    Plaintiff suffered and continues to suffer great physical injury, grievous bodily
harm, including a strong possibility of “permanent vision lost”, extreme pain as a proximate
result of defendants’ deliberate indifference in protecting him from physical harm by other
inmates. (See Exhibits D & E)



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ANSWER: Defendant denies that any of Plaintiff’s alleged injuries are a result of
Defendant’s actions or inaction and are without knowledge or information sufficient to
form a belief as to the truth of the remaining allegations in the above paragraph.

        11.     Pursuant to due Eighth Amendment of the United States Constitution, made
applicable to the states by the Fourteenth Amendment. Plaintiff has the right to be free from
cruel and unusual punishment.

ANSWER: This paragraph states a legal conclusion to which no answer is required. To
the extent which an answer is required, Defendant denies violating any of Plaintiff’s
Constitutional rights.

       12.     The action and omissions by the defendants complained of herein violates rights
seemed to plaintiff by the Eighth Amendment and Fourteenth of the United States Constitution
by subjecting plaintiff to cruel and unusual punishment.

ANSWER:        Deny.


                                           COUNT II
                          Intentional Infliction of Emotional Distress

       13.      Plaintiff incorporates paragraphs 1 through 12 of the factual overview as if they
were fully set forth herein as paragraph 1 of this Count II.

ANSWER:        Defendant restates his Answers to paragraphs 1 through 12.

       14.     Plaintiff suffered and continues to suffer great physical injury, grievous bodily
harm and extreme pain as a direct and proximate result of defendant deliberate indifference to his
physical condition and emotional state.

ANSWER: Defendant denies that any of Plaintiff’s alleged injuries are a result of
Defendant’s actions or inaction and are without knowledge or information sufficient to
form a belief as to the truth of the remaining allegations in the above paragraph.

        15.     Defendants have a duty to take reasonable care to avoid causing emotional
distress to plaintiff.

ANSWER: This paragraph states a legal conclusion to which no answer is required. To
the extent which an answer is required, Defendant denies violating any of Plaintiff’s
Constitutional rights.

        16.    Defendants failed in their duty and unreasonably caused plaintiff emotional
distress.



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ANSWER:        Deny.


                                              RELIEF

        Plaintiff respectfully request that the Court enter a judgment in favor of Plaintiff and
against each of the Defendants for (i) actual or compensatory damages in an amount greater than
the minimal jurisdictional amounts for this could and (ii) Additionally, because the Defendants
acted maliciously willfully, wantonly and/or reckless and extreme disregard for Plaintiff’s
constitutional rights, Plaintiff request that he be awarded punitive damages in an amount of
$5,000,000.

ANSWER:        Deny.



                                  AFFIRMATIVE DEFENSES

                                     First Affirmative Defense

       At all times relevant herein, Defendant acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendant is therefore protected from suit by the

doctrine of qualified immunity.

                                   Second Affirmative Defense

       Defendant’s personal involvement has not been established with sufficient specificity to

state a claim upon which relief can be granted.

                                    Third Affirmative Defense

       Plaintiff has not exhausted available administrative remedies as required by 42 U.S.C.

1997(e) and therefore, his complaint should be dismissed.




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                                       JURY DEMAND

       Defendant demands a trial by jury on all issues herein triable.



                                                     Respectfully submitted,

KWAME RAOUL
Attorney General of Illinois                 By:     s/James P. Doran
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                                CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that the aforementioned document was mailed on
March 10, 2020 via U.S. Mail to Plaintiff Elliott Herron at:

               Elliott Herron, M-01073
               2600 N. Brinton Ave.
               Dixon, IL 61021

                                                     /s/ James P. Doran




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